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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                           FLORENCE DIVISION

United States of America                            Crim. No. 4:04-cr-00482-TLW

      v.
                                                             ORDER
Demitrius Coleman


      This matter is before the Court on Defendant Demitrius Coleman’s second

pro se motion for a sentence reduction under the compassionate release statute, 18

U.S.C. § 3582(c)(1)(A)(i). ECF No. 238. Relief was denied on his first motion for a

sentence reduction under this same statute. ECF No. 203. For the reasons set forth

below, his motion is denied.

                                  BACKGROUND

      On April 27, 2004, a federal grand jury returned an eight count Indictment

charging Coleman and his co-defendant with several carjacking and firearm

offenses. ECF No. 1. A Superseding Indictment was returned on August 24, 2004,

which charged the same offenses and included special findings. ECF No. 45. On

November 24, 2004, Coleman pled guilty to two counts of brandishing a firearm

during and in relation to a crime of violence in violation of 18 U.S.C. § 924(c)

(Counts 2 and 4). ECF Nos. 94, 95 & 96. On March 10, 2005, Coleman was

sentenced to a term of imprisonment of 7 years as to Count 2 and to 25 years as to

Count 4, said terms to run consecutively for a total aggregate sentence of 32 years.

ECF Nos. 101 & 109.




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      Coleman appealed his sentence to the United States Court of Appeals for the

Fourth Circuit, which affirmed this Court’s judgment. ECF Nos. 111 & 153. He then

sought to collaterally attack his sentence via a petition for habeas corpus pursuant

to 28 U.S.C. § 2255. ECF No. 160. The Court denied his petition in a detailed order.

ECF No. 185. Coleman sought reconsideration of the order, which was denied. ECF

Nos. 188 & 216.

      On August 21, 2020, Coleman filed his first § 3582 motion for compassionate

release. ECF No. 203. There, he requested relief based on (1) the threat posed by

the COVID-19 pandemic, and (2) the fact that he is servicing a sentence based on

“stacked” § 924(c) convictions. See id. The Court denied his motion based on its

analysis and balancing of the 18 U.S.C. § 3553(a) sentencing factors. ECF No. 225.

Coleman appealed the denial of his first § 3582 motion to the Fourth Circuit, which

affirmed this Court’s ruling. ECF No. 231, 236 & 237.

      Coleman filed the present motion for compassionate release, his second, on

September 26, 2022. ECF No. 238. He again seeks relief “on his stacked §

924(c)(1)(c) convictions which is currently outdated.” Id. at 5. The Government has

since filed its response in opposition to which Coleman has filed a reply. ECF Nos.

245 & 246.

      Accordingly, this matter is ripe for review, adjudication, and disposition.

                                APPLICABLE LAW

      Absent certain exceptions, a court “may not modify a term of imprisonment

once it has been imposed.” 18 U.S.C. § 3582(c). One of those exceptions is the



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compassionate release statute. That statute provides, in relevant part, as follows:

      [T]he court, . . . upon motion of the defendant . . . , may reduce the
      term of imprisonment . . . after considering the factors set forth in
      section 3553(a) . . . , if it finds that—(i) extraordinary and compelling
      reasons warrant such a reduction; . . . and that such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission . . . .

18 U.S.C. § 3582(c)(1)(A). “A defendant who seeks compassionate release under

§ 3582(c)(1)(A)(i) has the burden of establishing that such relief is warranted.”

United States v. Edwards, 451 F. Supp. 3d 562, 565 (W.D. Va. 2020).

      The Sentencing Commission has issued a policy statement addressing

compassionate release motions—§ 1B1.13. But prior to the passage of the First Step

Act, compassionate release motions could only be filed by the Bureau of Prisons

(“BOP”), so § 1B1.13 by its terms only applies to BOP motions. See United States v.

McCoy, 981 F.3d 271, 275–76 (4th Cir. 2020) (explaining the First Step Act’s

changes to the compassionate release statute). There is no corresponding policy

statement addressing compassionate release motions filed by inmates. Thus, in

McCoy, the Fourth Circuit held that, when considering an inmate’s compassionate

release motion, § 1B1.13 is not an “applicable policy statement[].” Id. at 284. But

while § 1B1.13 may not directly apply to an inmate’s motion, “it remains helpful

guidance.” Id. at 282 n. 7.

      While § 1B1.13 may provide guidance, it is not an “applicable policy

statement[],” so “district courts are ‘empowered . . . to consider any extraordinary

and compelling reason for release that a defendant might raise.’” McCoy, 981 F.3d

at 284 (quoting United States v. Zullo, 976 F.3d 228, 230 (2d. Cir. 2020)) (emphasis


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in original); see also United States v. Kibble, 992 F.3d 326 (4th Cir. 2021).

Ultimately, the determination of whether a case presents “extraordinary and

compelling reasons” warranting a sentence reduction is a question first determined

within the sound discretion of the district court.

                                        DISCUSSION

        To provide context to both Coleman’s motion and the Court’s decision, the

Court will first review the offense conduct underlying Coleman’s present sentence

before reviewing the parties’ arguments and conducting its own analysis of the

issues at play.

   I.      THE OFFENSE CONDUCT

        As outlined in the Presentence Investigation Report (“PSR”), the offense

conduct at issue relates to Coleman’s participation in three armed carjackings—all

extremely violent and involved the use and brandishing of firearms. 1

        The first carjacking occurred on December 26, 2003. PSR ¶ 13. It involved

two victims and took place outside of Club Static in Myrtle Beach, South Carolina.

Id. As one of the victims exited his vehicle to enter the club, he was approached by

Coleman and his codefendant, both of whom were armed and wearing dark masks

and dark clothing. Id. The two displayed their handguns and demanded that the

victim reenter his vehicle. Id. The two joined him in the vehicle, along with the

second victim who had remained behind the wheel of the vehicle. Id. At gunpoint,

Coleman and his codefendant instructed the second victim to drive to Conway,

1 During Coleman and his codefendant’s post arrest inventory, one of these firearms came back as

stolen from North Carolina. PSR ¶ 21.


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South Carolina, several miles away from Myrtle Beach. Id. During this drive,

Coleman and his codefendant, having kidnapped the victims, threatened to kill

them. Id.

        Once in Conway, the two victims were ordered out of the car and onto their

knees. Id. ¶ 14. Coleman and his codefendant then took money, jewelry, and

clothing from the two victims and searched them for drugs. Id. The victims were

ordered back into the vehicle and driven around Conway by Coleman and his

codefendant. Id. Eventually, Coleman and his codefendant pulled the car over, took

the keys out of the ignition, and removed the vehicle’s CD player from the dash. Id.

They then fled on foot. Id.

        The second carjacking occurred a few hours later. Id. ¶ 16. Coleman and his

codefendant again waited for potential victims outside of Club Static. Id. As two

men exited the club and got into their vehicle, Coleman and his codefendant

approached, pointed handguns at the two now-victims, and ordered them to drive.

Id.

        Like the first carjacking, Coleman and his codefendant, having kidnapped

the two individuals, threatened to kill them. Id. ¶¶ 16 & 18. The victims were

instructed to drive to a remote, unknown dirt road. Id. ¶¶ 16 & 18. Once there,

Coleman and his codefendant forced the victims to disrobe. Id. ¶ 17. They were then

forced inside the vehicle’s trunk. Id. ¶ 17. Coleman and his codefendant then drove

the vehicle to another location. Id. There, they released the two victims from the

trunk and told them to remain with the vehicle. Id. Coleman and his codefendant



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then fled on foot with the victims’ clothing, earrings, wallets, and approximately 100

CDs. Id. ¶¶ 17–18.

      The third carjacking occurred in the early morning hours of December 30,

2003. Id. ¶ 19. Coleman and his codefendant again waited for their victims outside

of Club Static. Id. They approached two men outside of the club and demanded they

get into their car. Id. Once the four were inside the victims’ car, Coleman and his

codefendant repeatedly pointed their firearms at the victims’ heads, threatening to

kill them. Id. Coleman and his codefendant searched the car, hoping to find guns

and cash. Id. However, they discovered that the victims had no guns, very little

cash, and that the car was almost out of gas. Id. They ordered the kidnapped

victims to drive to a gas station but changed their mind upon seeing a police officer.

Id. Like the two previous carjackings, they order the victims to drive down a remote

dirt road before demanding they stop the car. Id. Coleman and his codefendant

proceeded to steal the victims’ clothing, their jewelry, and a CD player. Id. They

ordered the victims to get into the trunk and drove the vehicle to a second location.

Id. Once there, they ordered the victims to remain in the trunk and fled on foot. Id.

      Hours later, Coleman and his codefendant were stopped by police and

arrested. Id. ¶ 20. The victims’ stolen items were discovered during both an

inventory of the vehicle and a later search of Coleman and his codefendant’s

apartment. Id. As discussed, Coleman’s participation in the carjackings led to him

being named in seven counts of an eight-count Indictment. Ultimately, he pled

guilty to two § 924(c) counts in the Indictment, which resulted in a sentence of 32



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years. The remaining counts in the Indictment were dismissed pursuant to the

parties’ plea agreement. Those dismissed counts were charges of carjacking (Count

1), carjacking (Count 3), carjacking (Count 5), § 924(c) (Count 6), and § 922(g)(1)

(Count 8). See ECF No. 1.

      II.        THE PARTIES’ ARGUMENTS

            Before addressing the merits of Coleman’s motion for compassionate release,

the Court will first review the arguments raised by both Coleman and the

Government. See ECF Nos. 238, 245 & 246.

            A.     Coleman’s Arguments in Support of His Motion

            Coleman’s motion asserts only one basis for establishing “extraordinary and

compelling” reasons justifying either his release or a reduction in his sentence.

Specifically, he asserts that the First Step Act’s changes to the “stacking” of § 924(c)

convictions provides an “extraordinary and compelling” reason for relief. 2 ECF No.

238. For his requested relief, Coleman asks that the Court reduce his sentence from

384 months to 288-300 months. ECF No. 238 at 4.

            B.     The Government’s Opposition

            The Government opposes Coleman’s motion on two independent grounds.

First, the Government argues that the “stacking” of his § 924(c) sentences does not

provide an “extraordinary and compelling reasons” warranting a relief. ECF No. 245

at 6–11. Alternatively, the Government argues that, even if Coleman had presented




2   See First Step Act of 2018, Pub. L. 115-391, 132 Stat. 5222, § 403.


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an “extraordinary and compelling reason,” his motion should still be denied when

considering the § 3553(a) sentencing factors. Id. at 11–13.

    III.    THE COURT’S REVIEW

       The Court will first evaluate whether Coleman has presented “extraordinary

and compelling reasons” warranting a reduction in his sentence before considering

whether the § 3553(a) factors weigh in favor of his release. 3

       A.     The “Extraordinary and Compelling Reasons” Standard

       The sole argument in Coleman’s motion asserts that he is entitled to

compassionate release because his sentence is partially based on two “stacked”

924(c) convictions. When Coleman was sentenced in 2005, federal prosecutors could

bring gun charges providing for the “stacking” of multiple violations of § 924(c) for

sentencing because a first and “second or subsequent” offense could be charged at

the same time. Thus, a defendant, like Coleman, who committed two armed

carjackings while brandishing a firearm could be charged with two violations of §

924(c) and, if convicted at trial, face a 7-year mandatory minimum as to the first

violation and a 25-year mandatory minimum as to the second violation, said

sentences to run consecutively.

       Years after Coleman was sentenced, in the First Step Act of 2018, Congress

modified § 924(c) to provide that the 25-year mandatory minimum penalty now

applies to a “second or subsequent” § 924(c) conviction only if the first § 924(c)

conviction already “has become final.” Pub. L. No. 115-391, § 403(a), 132 Stat. 5194,

3The Government does not contest that Coleman has exhausted his administrative remedies.
Accordingly, the Court will evaluate Coleman’s arguments in support of his motion on the merits.


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5222. Congress provided that this relief was not retroactive. The Fourth Circuit has

since held that district courts can consider the First Step Act’s § 924(c) change when

evaluating a defendant’s motion pursuant to the compassionate release statute, 18

U.S.C. § 3582(c)(1)(A)(i). McCoy, 981 F.3d at 285–86. The Fourth Circuit recently

noted in United States v. Brown that “Congress did not make this change to § 924(c)

retroactive [but concludes] § 3582(c)(1)(A) allow for ‘individual relief’ based on a §

924(c) sentencing disparity ‘in the most grievous cases.” ____F.4th____, 2023 WL

5257673 at *7 (4th Cir. Aug. 16, 2023). 4 The Court will consider Coleman’s request

for relief as the Fourth Circuit provided in McCoy and Brown.

       Turning      to   Coleman’s      argument       that   these    changes      constitute    an

“extraordinary and compelling reason” for a reduction in his sentence, 5 the Court

acknowledges the First Step Act’s prospective elimination of the “stacking” of
4 The Court has carefully reviewed the Fourth Circuit’s recent published opinion in United States v.

Brown, ____F.4th____, 2023 WL 5257673 at *1 (4th Cir. Aug. 16, 2023). In that case, the defendant,
Kelvin Brown, was charged with eight drug and firearm charges, including two counts of possessing
a firearm in furtherance of a drug trafficking crime, 18 U.S.C. § 924(c). Id. Brown went to trial, and
a jury convicted him on seven of eight counts—including the two § 924(c) charges. Id. Brown received
a total sentence of approximately 57 years, 30 of which were for his two “stacked” § 924(c)
convictions. Id. In 2020, Brown moved for compassionate release arguing, in part, that the First Step
Act’s changes to the “stacking” of § 924(c) convictions constituted an “extraordinary and compelling
reason” in favor of relief because of the disparity in the sentence he received and the one he would
receive today. Id. at * 2. The district court denied the motion, concluding that Brown could not
establish “extraordinary and compelling reasons” and because the 18 U.S.C. § 3553(a) sentencing
factors weighed against granting Brown relief. Id. On appeal, the Fourth Circuit reversed the district
court, vacated its order, and remanded the case with instructions to reduce Brown’s sentence by 20
years. Id. In doing so, the Fourth Circuit majority concluded that, because of the First Step Act’s
changes to § 924(c), the disparity between the sentence Brown received and the one he would receive
today constituted an “extraordinary and compelling reasons.” Id. After concluding that Brown
established “extraordinary and compelling reasons,” the Brown majority proceeded to independently
reweigh the § 3553(a) sentencing factors, finding that they supported a reduction in Brown’s
sentence. Id. Specifically, the majority noted that Brown had made rehabilitative efforts, received
only one disciplinary infraction, and was serving a sentence based on nonviolent conduct. Id.
5
  The Court notes that Coleman previously raised this argument in his first § 3582 motion. ECF No.
203 at 2–4. This argument was addressed at length in the Court’s order denying his first § 3582
motion. ECF No. 224 at 4–5. Hence, the Court incorporates its analysis of Coleman’s § 924(c)
argument from its prior order.


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sentences under to § 924(c). As a result, if Coleman pled to the same two charges

today, he would be subject to a lower mandatory minimum sentence on the second

§ 924(c) count and a lower overall sentencing range. As noted, Congress did not

make the First Step Act’s § 924(c) change retroactive. 6 See § 403(b), 132 Stat. at

5222 (“This section, and the amendments made by this section, shall apply to any

offense that was committed before the date of enactment of this Act, if a sentence

for the offense has not been imposed as of such date of enactment.”) (emphasis

added). Although the First Step Act’s change to § 924(c) sentences “can constitute

an extraordinary and compelling reason for relief,” the Fourth Circuit recognized

that “not all defendants convicted under § 924(c) should receive new sentences.”

McCoy, 981 F.3d at 285, 287 (emphasis added). Deciding whether a particular

defendant’s sentence should be reduced is ultimately an individualized, case-by-case

inquiry. See id. at 287–88. In light of McCoy and Brown, the Court concludes

Coleman’s position is “relevant to . . . the ‘extraordinary and compelling reasons’

inquiry [.]” Brown, 2023 WL 5257673 at *7. However, the question of a sentence

reduction here is based—and focused on—a review of the criminal conduct

committed, Coleman’s criminal history, relevant § 3582(c) issues raised in the

briefing, applicable caselaw, the 18 U.S.C. § 3553(a) sentencing factors, and changes

in the law.

       B.      The Court’s review of the § 3553(a) factors

       Even where, as here, a district court finds that a defendant has established

6 Nevertheless, the Court recognizes that this change must still be considered when evaluating a

motion for compassionate release. See McCoy, 981 F.3d at 284.


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“extraordinary and compelling reasons,” the district court “is still not required to

grant the defendant’s motion for a sentence reduction. Rather, it must ‘consider’ the

§ 3553(a) sentencing factors ‘to the extent that they are applicable’ in deciding

whether      to   exercise     its   discretion     to   reduce   the   defendant’s   term   of

imprisonment.” United States v. High, 997 F.3d 181, 186 (4th Cir. 2021) (quoting 18

U.S.C. § 3582(c)(1)(A)) (cleaned up); see also United States v. Hargrove, 30 F.4th

189, 195 (4th Cir. 2022) (noting that, even if a prisoner establishes “extraordinary

and compelling circumstances,” a district court is “not required to grant the

defendant’s motion for a sentence reduction.”). Here, the Court concludes that,

based on both Coleman’s repeated violent conduct in connection to the instant

federal charges, his criminal history, and his continued disciplinary infractions, the

§ 3553(a) factors weigh against granting his request for relief. 7

       As part of the § 3553(a) factors, it is appropriate to review the facts

surrounding Coleman’s instant offenses. That conduct is discussed in significant

detail in Paragraphs 12–23 of the PSR, which the Court incorporates by reference.

This order previously set forth that conduct, but the Court will highlight the

relevant portions again here. As noted, Coleman committed three violent, armed

carjackings. During each carjacking, Coleman and his codefendant both possessed

and brandished firearms to commit violent crime. Coleman threatened to kill the

victims. After a review of the facts of the instant offenses, the Court concludes that

“the nature and circumstances of the offense” weigh heavily against a reduction in

7 The Court has balanced those factors given the compassionate release issues not in play at the

original sentencing. Kibble at 335 (Gregory, C.J., concurring).


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Coleman’s sentence. Contra Brown, 2023 WL 5257673 at *7 (“While we do not make

light of the serious conduct for which Brown was convicted, we cannot ignore the

extraordinary fact that Brown . . . was not charged with causing any physical

violence or injury”). Coleman clearly committed violent crime and threatened his

victims with physical harm and death. The conduct outlined makes it clear that

Coleman would pose a great risk to the public if released or if his sentence is

reduced.

      The Court next looks to “the history and characteristics of the defendant,”

which reveals Coleman’s significant—and violent—criminal history accumulated

before his current Coleman’s federal convictions. His criminal history began when

he was just 14-years-old and includes convictions for drug activity and violent

conduct, including: (1) possession of a controlled substance (law enforcement

recovered six small yellow Ziploc plastic bags containing crack cocaine); (2)

possession of a stolen auto (the vehicle was stolen from a hospital); (3)

manufacture/deliver cocaine; (4) aggravated unlawful use of a weapon/vehicle; (5)

possession of a controlled substance near an elementary school (PCP), and (6)

battery–cause bodily harm. PSR ¶¶ 34–39.

      The Court finds that the facts surrounding two of these convictions warrant

further discussion here. First, Coleman’s conviction for aggravated unlawful use of

a weapon/vehicle. This conviction occurred while Coleman was residing in Chicago,

Illinois. Id. ¶ 27. In October 2002, the Chicago Police Department responded to a

call regarding a man with a gun. Id. The responding officers observed Coleman



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running into an apartment building with a silver object in his hand. Id. After a brief

foot chase, officers detained Coleman. Id. During the chase, Coleman threw the

silver object under a porch. Id. Officers later recovered the item, which turned out to

be a chrome three-inch barrel zip-gun containing a .22 caliber round. 8 Id. Officers

later found six live .22 rounds in Coleman’s possession. Id. After receiving his

Miranda rights, Coleman informed officers that he made the zip-gun himself and

could make a zip-gun from .22 to .40 caliber. Id.

       Second, Coleman’s conviction for battery–cause bodily harm. Id. ¶ 39. During

this violent altercation, Coleman struck and injured three victims. Id. He struck the

first victim in the face. Id. He then struck the second victim in the arm before

punching the third victim in the jaw. Id.

       Coleman’s prior criminal convictions resulted in 9 criminal history points,

which placed him in a criminal history category of IV. Id. ¶ 44. After a review of

Coleman’s     criminal     history,    the   Court     concludes     that    “the   history    and

characteristics of the defendant” weigh against a reduction in his sentence because

his convictions are either (1) violent, (2) include the illegal possession of firearms, or

(3) involve illegal narcotics.

       The Court also concludes that §§ 3553(a)(2)(A)-(C) weigh against release for

similar reasons. The circumstances of the instant offenses and Coleman’s criminal

history demonstrate his propensity to engage in criminal conduct and commit acts

of violence. His actions also demonstrate his disrespect for the law and the safety of


8 A zip-gun is a homemade firearm consisting of a barrel, breechblock, and firing mechanism.




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others. As outlined above, Coleman’s conduct during the carjackings was egregious

and violent. The sentence imposed was—and is—necessary to (1) reflect the

seriousness of the offense, (2) promote respect for the law, (3) provide just

punishment, and (4) to afford adequate deterrence.

      The Court next turns to §§ 3553(a)(3)-(6), which analyzes the kinds of

sentences available, the guidelines sentencing range, any applicable policy

statements, and the need to avoid sentencing disparity. First, the Court gives great

weight to the parties’ plea negotiations and resulting plea agreement. Here,

Coleman was named in seven of eight counts in the Indictment. The Government

sought a long sentence against him based on his crimes. To accomplish imposing

this sentence, the Government entered a plea agreement with Coleman. In

exchange for his plea, the Government agreed to drop five of seven counts charging

serious offenses, pursuant to a written plea agreement. The dismissed counts were:

carjacking (Count 1), carjacking (Count 2), carjacking (Count 3), carjacking (Count

4), § 924(c) violation (Count 6), and felon in possession (Count 8).

      The Government had the option to seek convictions on the dismissed counts,

which would have resulted in a much higher sentence. However, the Government

made a plea offer to Coleman as outlined. At that time, some 19 years ago, after

entering the plea agreement, the Government was fully aware of the then-existing

sentencing option when defendants, like Coleman, were charged with multiple §

924(c) counts. Under this framework, the Government made an agreement in which

Coleman would plead to two § 924(c) counts and receive a 32-year sentence. See



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United States v. Ford, No. CR 0:14-362-JFA, 2021 WL 4555730, at *10 (D.S.C. Oct.

5, 2021) (noting that the plea-bargaining process “may well be the reason that

Congress expressly stated that the anti-stacking provision of the First Step Act was

not retroactive. A retroactive application upsets settled bargains from years ago

that were made in good faith.”). Accordingly, Coleman pled guilty to two counts of

brandishing a firearm during and in relation to a crime of violence in violation of 18

U.S.C. § 924(c). He pled guilty knowing those two counts carried a statutory

minimum sentence of 32 years (7-year statutory minimum on Count 2, with 25

years consecutive on Count 4). Coleman was also well-aware five serious charges

were dismissed in exchange for his plea.

      Second, while Coleman would face a lower starting mandatory minimum on

his second § 924(c), if sentenced today, he could still receive the 32-year sentence

originally imposed. Today, on both § 924(c) convictions, he would face a mandatory

minimum of 84 months consecutive. But this is only the mandatory statutory

minimum. Coleman could be sentenced up to a statutory maximum of Life on either

§ 924(c) conviction. The Court imposed the statutory minimum sentence of 32 years

when a Life sentence was available. Thus, if sentenced today, Coleman could still

receive the original 384-month sentence imposed despite facing a lower statutory

minimum on his second § 924(c) conviction.

      Again, the Court acknowledges that the First Step Act eliminated the

“stacking” of sentences pursuant to § 924(c). As a result, if Coleman only pled to the

same two counts today, he would be subject to a lower mandatory minimum.



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However, this alone is not a basis to reduce his sentence. Considering Coleman’s

prior record and the continued violence in connection with the federal offenses, a 14-

year minimum sentence on the same two § 924(c) counts today would be

inadequate. Thus, when considering the instant offense conduct and Coleman’s

previously noted prior convictions, there is a limited basis to conclude that a lesser

or significantly lower sentence would be imposed today. The Court declines, for the

reasons stated, to disturb the results of the parties’ carefully crafted plea

agreement. Accordingly, the Court concludes that §§ 3553(a)(3)-(6) do not weigh in

favor of release.

      As to the remaining factors, the Court acknowledges that the record reflects

that Coleman has made some rehabilitative efforts while incarcerated. The Court

has also reviewed the character letters submitted on Coleman’s behalf.

Rehabilitation, however, when balanced against the factors above, does not warrant

release. Additionally, the records submitted by Coleman in connection to his prior

motion for compassionate release reflect that he has had several disciplinary issues

while incarcerated. ECF No. 203-3 at 2–4. Although his last incident occurred in

2015, he had several, serious prior incidents: (1) being insolent to staff member in

2012; (2) possessing a dangerous weapon in 2007 (6” flat metal shank); (3) refusing

to obey an officer in 2007; and (4) fighting with another person in 2006. Id. The

Court concludes that this disciplinary history weighs against release. In sum,

Coleman committed serious, violent crimes, both the instant offenses and in the

past, and has continued to have disciplinary issues while incarcerated. His



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rehabilitative efforts do not outweigh the repetitive violence and contempt for the

law that he exhibited before his incarceration.

      As noted, in McCoy, the Fourth Circuit indicated that district courts should

not grant release based solely on the First Step Act’s change to § 924(c) but should

instead “conduct individualized inquires” and consider individual factors specific to

the defendant. 981 F.3d at 288. The Court has followed that guidance and has based

its decision on the individualized considerations outlined herein. The offense

conduct at issue is very serious. Coleman participated in a violent carjacking spree

where he and his co-defendant brandished firearms, kidnapped several victims,

threatened to kill those victims, and robbed them. This conduct was egregious,

serious, and significant. It demonstrates Coleman’s disregard for both the safety of

others and the law. In analyzing his first compassionate release motion, the Court

concluded that the § 3553(a) factors weighed against granting Coleman relief. That

conclusion remains unchanged. Based on the above analysis, the Court again finds

that the § 3553(a) factors weigh against Coleman’s request for relief. Moreover, the

Court concludes that, if released, Coleman would pose a risk to the public’s safety.

Accordingly, the Court concludes a sentence reduction is not appropriate.

                                   CONCLUSION

      The Court finds that Coleman’s second motion for compassionate release

should be denied based on an analysis and balancing of the 3553(a) factors because,

if released, he would pose a significant risk to the public. Accordingly, it is the

judgment of the Court that Coleman’s second motion for compassionate release,



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ECF No. 238, is DENIED.

IT IS SO ORDERED.

                                    s/ Terry L. Wooten
                                    Terry L. Wooten
                                    Senior United States District Judge

September 8, 2023
Columbia, South Carolina




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